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                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 8
      FREDERICK O. SILVER,
 9                                                        Case No. 3:25-cv-05175-DGE
                          Plaintiff,
10                                                        [PROPOSED] ORDER OF DISMISSAL WITH
                 v.                                       PREJUDICE
11
      CAPITAL ONE SERVICES, LLC,
12
                          Defendant.
13

14          This matter comes before the Court on the Motion to Dismiss Plaintiff’s Complaint for

15   Failure to State a Claim (Dkt. No. __; the “Motion”) filed by defendant Capital One, N.A.,

16   erroneously named as “Capital One Services, LLC”. The Court has considered the Motion, any

17   responses and replies to the Motion, the arguments of the parties (if any), and the files and

18   records herein.

19          The Court, being fully informed, and for good cause shown, finds that the Complaint fails

20   to state a claim for relief as required by the Federal Rules of Civil Procedure. Accordingly,

21          IT IS HEREBY ORDERED that the Motion is GRANTED as follows:

22          1.         Defendant’s Motion to dismiss is GRANTED.

23          2.         Plaintiff’s Complaint is dismissed with prejudice.

24          3.         _______________________________________

25          4.         _______________________________________

26



     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE                                   Miller Nash LLP
     -1                                                                          605 5th Ave S, Ste 900
                                                                                   Seattle, WA 98104
                                                                            206.624.8300 | Fax: 206.340.9599
                                                                                                 4937-3137-5668.1
           Case 3:25-cv-05175-DGE        Document 14-1       Filed 04/10/25       Page 2 of 2



 1
                     DATED this _____ day of _______________, 2025.
 2

 3

 4                                                 UNITED STATES DISTRICT JUDGE
 5
     Presented by:
 6
     MILLER NASH LLP
 7

 8   s/ Jesús Miguel Palomares
     Jesús Miguel Palomares, WSBA No. 51858
 9   jesus.palomares@millernash.com
     605 5th Ave. S., Suite 900
10   Seattle, WA 98104
     Telephone: 503.224.5858 / 206.624.8300
11   Facsimile: 503.224.0155 / 206.340.9599
12   Attorneys for Defendant
     Capital One, N.A. (erroneously sued as “Capital One Services, LLC”)
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     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE                           Miller Nash LLP
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